                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                   CRIMINAL NO. 3:04CR33


UNITED STATES OF AMERICA                       )
                                               )
                                               )
               VS.                             )               ORDER
                                               )
                                               )
JEFFREY INMAN                                  )
                                               )


       THIS MATTER is before the Court on a handwritten letter sent by the Defendant to the

law clerk for the undersigned and a motion to reconsider the sentence imposed in this matter.

       The motion to reconsider is denied. The Defendant has filed a notice of appeal from the

conviction and sentence imposed by the undersigned. In the letter, the Defendant raises issues

related to his direct appeal. As a result of the pending appeal, this Court no longer has

jurisdiction to entertain issues arising from this action. Although the letter will be filed in this

Court, the Clerk will be directed to forward a copy thereof to the United States Court of Appeals

for the Fourth Circuit which now has jurisdiction over this matter.

       IT IS, THEREFORE, ORDERED that the motion to reconsider is hereby DENIED.

       IT IS FURTHER ORDERED that the letter of June 14, 2005, shall be filed of record

and a copy thereof shall be forwarded to the United States Fourth Circuit Court of Appeals.




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                        Signed: June 16, 2005




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